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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 18-1513V
                                        (not to be published)


    JULIA RANDAZZO
                                                                Chief Special Master Corcoran
                          Petitioner,
    v.                                                          Filed: August 27, 2021


    SECRETARY OF HEALTH AND                                     Special Processing Unit                 (SPU);
    HUMAN SERVICES,                                             Attorney’s Fees and Costs


                         Respondent.


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
Petitioner.

Darryl R. Wishard, U.S. Department of Justice, Washington, DC, for Respondent.

                       DECISION ON ATTORNEY’S FEES AND COSTS 1

        On September 28, 2018, Julia Randazzo (“Petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq. 2 (the Vaccine Act”). Petitioner alleges that she suffered a shoulder
injury related to vaccine administration caused by an influenza vaccine administered on
October 4, 2017. (Petition at 1). On February 1, 2021, a decision was issued awarding
compensation to Petitioner. (ECF No. 43).


1
   Because this unpublished Decision contains a reasoned explanation f or the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If , upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease

of citation, all “§” ref erences to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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       Petitioner has now filed a motion for attorney’s fees and costs, dated August 1,
2021, (ECF No. 48), requesting a total award of $48,268.93 (representing $46,144.50 in
fees and $2,124.43 in costs). In accordance with General Order No. 9, Petitioner filed a
signed statement indicating that she incurred no out-of-pocket expenses. (Id. at 2).
Respondent reacted to the motion on August 2, 2021, indicating that he is satisfied that
the statutory requirements for an award of attorney’s fees and costs are met in this case,
and defers resolution of the amount to be awarded to my discretion. (ECF No. 49). On
August 2, 2021, Petitioner filed a reply requesting that the court award all fees and costs
requested in Petitioner’s application. (ECF No. 50).

       I have reviewed the billing records submitted with Petitioner’s request. In my
experience, the request appears reasonable, and I find no cause to reduce the requested
hours or rates.

       The Vaccine Act permits an award of reasonable attorney’s fees and costs. Section
15(e). Accordingly, I hereby GRANT Petitioner’s Motion for attorney’s fees and costs. I
award a total of $48,268.93 (representing $46,144.50 in fees and $2,124.43 in costs) as
a lump sum in the form of a check jointly payable to Petitioner and Petitioner’s counsel.
In the absence of a timely-filed motion for review (see Appendix B to the Rules of the
Court), the Clerk shall enter judgment in accordance with this decision. 3

IT IS SO ORDERED.

                                                      s/Brian H. Corcoran
                                                      Brian H. Corcoran
                                                      Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by f iling a joint notice
renouncing their right to seek review.
                                                  2
